Case 21-50381-grs       Doc 56     Filed 10/15/21 Entered 10/15/21 12:21:49             Desc Main
                                   Document      Page 1 of 2



                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                              LEXINGTON DIVISION

IN RE:
JUNE H. NEAL                                                        CASE NO. 21-50381
DEBTOR(S)

                                 AMENDED
                            TRUSTEE’S REPORT AND
                      RECOMMENDATION AS TO CONFIRMATION

Confirmation: NOT RECOMMENDED, based on Chapter 13 Plan (ECF No. 18), filed on
4/19/2021.

        1. The plan does not meet the hypothetical liquidation test of 11 U.S.C. § 1325(a)(4) in

that priority and unsecured creditors are receiving less than would be distributed to them if this

were a chapter 7 liquidation case. Creditors holding priority and general unsecured claims must

receive at least $40,506.00. Section 5.1 of the plan incorrectly states a liquidation amount of

$100.

        2. The Trustee estimates a “pool” amount of $47,400.00 is required in order to pay

secured claims, Debtor’s attorney’s fee, the Trustee’s percentage fee, and the amount necessary

to satisfy the liquidation test, based on claims scheduled and filed to date. Any increase in the

amount or interest rate to be paid on secured claims will require a like increase in the pool

amount.

        3. The fee requested by the attorney in Section 4.3 of the Plan is not consistent with the

Rule 2016(b) Disclosure of Compensation (Form 2030). Amend the plan and/or the fee

disclosure.

                                                       Respectfully submitted –

                                                       Beverly M. Burden, Chapter 13 Trustee

                                                       By: /s/ Beverly M. Burden
                                                          Beverly M. Burden
Case 21-50381-grs    Doc 56    Filed 10/15/21 Entered 10/15/21 12:21:49        Desc Main
                               Document      Page 2 of 2



                                                    Chapter 13 Trustee
                                                    P.O. Box 2204
                                                    Lexington KY 40588
                                                    (859) 233-1527
                                                    notices@ch13edky.com


                              CERTIFICATE OF SERVICE

      The foregoing has been served via ECF on Ryan R. Atkinson on October 15, 2021.

                                                 Beverly M. Burden, Chapter 13 Trustee

                                                 By: /s/ Beverly M. Burden
                                                    Beverly M. Burden
                                                    Chapter 13 Trustee
